                Case 2:18-cv-00556-TSZ Document 15-1 Filed 11/21/18 Page 1 of 3




 1                                                           THE HONORABLE THOMAS S. ZILLY

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                           UNTIED STATES DISTRICT COURT FOR THE
 7                           WESTERN DISTRICT OF WASHINGTON

 8
     GLACIER NORTHWEST, INC.,
 9
                            Plaintiff,                   Case No. 2:18-cv-00556-TSZ
10
            v.                                           DECLARATION OF JARED D.
11                                                       SCHUETTENHELM IN SUPPORT
     CEMENTAID INTERNATIONAL                             OF DEFENDANT CEMENTAID
12   MARKETING, LTD.,                                    INTERNATIONAL MARKETING,
13                                                       LTD.’S MOTION TO DISMISS
                            Defendant.                   GLACIER NORTHWEST, INC.’S
14                                                       AMENDED COMPLAINT

15

16          I, Jared D. Schuettenhelm, declare as follows:

17          1.      I am an attorney at Bracewell LLP, representing Defendant Cementaid International

18   Marketing, Ltd. (“Cementaid”). I offer this declaration in support of Cementaid’s Motion to

19   Dismiss Glacier Northwest, Inc.’s (“Glacier”) Amended Complaint. I have personal knowledge of

20   the facts set forth herein and, if called upon as a witness, I could and would competently testify

21   thereto.

22          2.      I have reviewed the Marketing and Material Supply Agreement (“Agreement”),

23   executed on December 31, 2001, between Glacier and Cementaid.

24          3.      The Agreement refers to Cementaid as “CAIM” and Glacier as “GNW.”

25          4.      Recital A of the Agreement states:

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     DECLARATION OF JARED D. SCHUETTENHELM ISO                   Bracewell LLP 701 Fifth Ave., Suite 6200
     MOTION TO DISMISS                    -1-                        Seattle, Washington 98104-7043
                                                                  Phone 206.204.6200 Fax 800.404.3970
           Case 2:18-cv-00556-TSZ Document 15-1 Filed 11/21/18 Page 2 of 3




 1         5.    Recital B of the Agreement states:

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 7         6.    Section 12.2 of the Agreement states:

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13         7.    Section 16.1 of the Agreement states:

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19         I declare under penalty of perjury that the foregoing is true and correct.

20         Executed on this 21st day of November, 2018, in Seattle Washington

21
                                                      By: /s/ Jared D. Schuettenhelm
22                                                    Jared D. Schuettenhelm, WSBA No. 46181
                                                      701 Fifth Avenue, Suite 6200
23
                                                      Seattle, WA 98104-7043
24                                                    Telephone: (206) 204-6200
                                                      Facsimile: (800) 404-3970
25                                                    jared.schuettenhelm@bracewell.com
26

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                                                                  Phone 206.204.6200 Fax 800.404.3970
            Case 2:18-cv-00556-TSZ Document 15-1 Filed 11/21/18 Page 3 of 3




 1                                 CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that a true and correct copy of the above and foregoing

 3   document has been served on November 21, 2018 to all counsel of record who have consented to

 4   electronic service via the Court’s CM/ECF system.

 5
                                                /s/ Philip J. Bezanson
 6                                              Philip J. Bezanson
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